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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

GAVIN/SOLMONESE LLC,

              Plaintiff,                          Case No. 16-CV-1086

              v.                                  Judge John Robert Blakey

STEPHEN L. KUNKEL,

              Defendant.



                           CASE MANAGEMENT ORDER

       Consistent with proceedings in open court on April 4, 2018, the Court sets the
following case management dates:

Case Management Conference (CMC)                              Wednesday, April 04, 2018
Deadline for final Rule 26 disclosures                        Wednesday, April 18, 2018
Deadline for final written discovery to issue                 Wednesday, May 02, 2018
Deadline for any amendments (new allegations, claims, or      Monday, May 07, 2018
parties)
Final Discovery Status (FDS)                                  Tuesday, May 15, 2018 at
                                                              9:45 a.m. in Courtroom 1203.
Close of Fact Discovery                                       Monday, May 04, 2018
Deadline for filing dispositive motions                       Monday, June 25, 2018
Deadline for responses to dispositive motions                 Monday, July 16, 2018
Deadline for replies in support of dispositive motions        Monday, July 23, 2018
Hearing on any dispositive motions                            Tuesday, September 18, 2018
                                                              at 9:45 a.m. in Courtroom
                                                              1203.
Deadline for filing the Final Pretrial Order and motions in   Tuesday, October 23, 2018
limine
Deadline for filing responses to motions in limine            Tuesday, October 30, 2018
Final Pretrial Conference                                     Tuesday, November 13, 2018
                                                              at 1:30 p.m. in Courtroom
                                                              1203.
Trial                                                         Monday, November 19, 2018
                                                              at 10:30 a.m. in Courtroom
                                                              1203.
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      The parties are expected to review and comply with the Court’s standing
orders, including the order on proposed pretrial procedures (including motions in
limine) and the Court’s jury selection protocol in civil cases, which are available on
Judge Blakey’s information page on the Court’s official website:
www.ilnd.uscourts.gov. The parties should be aware that if they resolve their
dispute on or after the first day of jury selection, the Court will assess juror costs.


Dated: April 4, 2018                    Entered:


                                        ___________________________
                                        John Robert Blakey
                                        United States District Judge




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